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E. K. Wade (Pro Se)
300 Bel Air Drive, #99
Vacaville, CA 95687
(925) 323-1578

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Attorney for Plaintiff
UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
E. K. Wade Case No. 1:13 CV 708 RC
Plaintiff ) PLAINTIFF’S MOTION TO DISMISS
, ) AMENDED COMPLAINT WITHOUT
vs ) PREJUDICE
, )
)
)
Jeff Miller, et al
Defendants.

 

Pursuant to Rule 41 (a)(1)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

motions to dismiss the above-mentioned amended complaint without prejudice.

Respectfully submitted.

Dated this 21° day of October 2013

EK Wade

 

E. K. Wade (Pro Se}
Attorney for Plaintiff
300 Bel Air Drive, #99

Vacaville, CA 95687;
(925) 323-1578

 
    
   

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Mail Room

 
 

    

 

 

BE. K. Wade v. Jeff Miller, et al
Plaintiff’s Motion to Dismiss Without Prejudice
C 1:13 cv 708 RC - 1

   

 

 

Angela D, Caesar. Clerk oF C
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